        Case 2:10-cr-20022-PKH                       Document 121            Filed 03/01/11                Page 1 of 5 PageID #: 278
~AO 2458      (Rev. 09108) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                       WESTERN                                    District of                                 ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                          Case Number:                        2: 10CR20022-004
               JUAN PEREZ-PADRON                                          USMNumber:                          09928-010

                                                                          Shannon L. Blatt
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Six (6) of the Indictment on October 5,2010

D pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended

21 U.S.c. § 841(a)(1) and          Possession with Intent to Distribute Methamphetamine                       03/1612010                   6
(b)(I)(C)



        The defendant is sentenced as provided in pages 2 through         5              of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.

o The defendant has been found not guilty on count(s)
X Count(s)           One (1) and Seven (7) D                is    X are dismissed on the motion of the United States.
               --------~~------~-----
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                          February 25, 2011
                                                                          Date of Imposition of Judgment


                                                                        .vtSt Robert T. Dawson
                                                                          Signature of Judge




                                                                          Honorable Robert T. Dawson, United States District Judge
                                                                          Name and Title of Judge


                                                                          March 1. 2011
                                                                          Date
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AO 245B       (Rev. 09/08) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                      Judgment- Page _ ....2 "--_ of   5
 DEFENDANT:                      JUAN PEREZ-PADRON
 CASE NUMBER:                    2: lOCR20022-004


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     thirty seven months (37 months)




  X       The court makes the following recommendations to the Bureau of Prisons:
          The defendant to complete a drug treatment program while incarcerated at the Bureau of Prisons.




  X       The defendant is remanded to the custody of the United States Marshal.

  D       The defendant shall surrender to the United States Marshal for this district:

          D     at    _________ D a.m.                          D p.m.       on

          D     as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 1 p.m. on

          o     as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
          Case 2:10-cr-20022-PKH                         Document 121        Filed 03/01/11           Page 3 of 5 PageID #: 280
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page ----1....- of         5
DEFENDANT:                     JUAN PEREZ-PADRON
CASE NUMBER:                   2: 10CR20022-004
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :            three (3) years
It is anticip'ated that the defendant will be deported by U.S. Immigration and Customs Enforcement following the term of imprisonment.
Accordingly, if defendant leaves the United States by way of deportation or otherwise after completion of the term of imprisonment and, after
such departure, again re-enters the United States illegally! the defendant will then be in immediate violation of a condition of supervised
release. If, prior to any deportation, defendant is releasea on bond by U.S. Immigration and Customs Enforcement or if, after deportation, the
defendant returns to tne United States legally, defendant shall--in either event--report to the nearest U.S. Probation Office within 72 hours of
such release or return. Based on these Circumstances, the mandatory drug testing provisions of 18 U.S.C. § 3583(d) are hereby waived.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ani:! at least two periodic drug tests
thereafter, as determined by the court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~feJldant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          penmsslon of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,Persona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page     4      of       5
DEFENDANT:                          JUAN PEREZ-PADRON
CASE NUMBER:                        2: 10CR20022-004
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                             Fine                                 Restitution
TOTALS              $ 100.00                                                $ 500.00                            $ - 0­


D The detennination of restitution is deferred until
     after such detennination.
                                                                  ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority or~er or perc~ntage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the Untted States IS paid.

Name of Payee                                     Total Loss*                          Restitution Ordered                     Priority or Percentage




                                        $____________~O~
TOTALS
                                                                                 $---------------­
D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

     X     the interest requirement is waived for the              X fine     D restitution.
      D the interest requirement for the               D   fine      D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
          Case 2:10-cr-20022-PKH                       Document 121         Filed 03/01/11            Page 5 of 5 PageID #: 282
AD 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments

                                                                                                          Judgment - Page   ~        of       5
DEFENDANT:                   JUAN PEREZ-PADRON
CASE NUMBER:                 2: 10CR20022-004

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X Lump sum payment of $ --::,60:..:0:.,:;.00::.:.._ __   due immediately, balance due

            o     not later than _ _ _ _ _ _ _ _ _ _ ,or
            X     in accordance     0 C, 0 D, 0       E, or                 X F below; or
B     0     Payment to begin immediately (may be combined with           0 C,         o D, or      0 F below); or
C     0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
           than $25.00 quarterly, or 10% of the defendant's quarterly earnings, wliichever is greater. After incarceration, any unpaid financial
           penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% ofthe
           oefendant's net monthl:yllOusehold income, but in no case less than $100.0-0 per month, with the entire balance to be paid in full one
           month prior to the tenmnation of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througfi the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
